UNITED STATES DISTRICT COURT
                                                               USDC SDNY
SOUTHERN DISTRICT OF NEW YORK
                                                               DOCUMENT
                                                               ELECTRONICALLY FILED
 CANDICE MCCRARY,
                                                               DOC #:
                                Plaintiff,                     DATE FILED: 2/18/2025

                    -against-

 SEAN COMBS, DADDY’S HOUSE
 RECORDING INC., CE OPCO, LLC, BAD                                24-cv-8054 (MKV)
 BOY ENTERTAINMENT HOLDINGS,
 INC., BAD BOY PRODUCTIONS                                              ORDER
 HOLDINGS, INC., BAD BOY BOOKS
 HOLDINGS, INC., BAD BOY RECORDS
 LLC, BAD BOY ENTERTAINMENT LLC,
 BAD BOY PRODUCTIONS LLC,
 MARRIOTT INTERNATIONAL, INC.,
 ORGANIZATIONAL DOES 1-10,

                                Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The Court is in receipt of the parties’ letters about the contemplated motions to dismiss of

Defendant Marriott International, Inc. and Defendants Sean Combs, Daddy’s House Recordings

Inc., CEOpCo, LLC d/b/a Combs Global f/k/a Combs Enterprises, LLC, Bad Boy Entertainment

Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings, Inc., Bad Boy

Entertainment LLC, and Bad Boy Productions LLC, respectively [ECF Nos. 35, 39, 45]. The

Court concludes that a pre-motion conference is not necessary. Defendants’ respective requests

for leave to file motions to dismiss are GRANTED. The Court also GRANTS Plaintiff leave to

file an amended complaint before any such motion is filed.

       The Court notes that Plaintiff’s letter in opposition to the pre-motion letter filed by Marriott

International, Inc. [ECF No. 39] is signed by Anthony Buzbee. The Court has been informed that

Mr. Buzbee is not admitted to practice in the Southern District of New York. He has not filed a

motion to appear pro hac vice in this case. As such, Mr. Buzbee is in violation of Local Civil Rule
1.3. Accordingly, IT IS HEREBY ORDERED that Mr. Buzbee must file a motion to appear pro

hac vice no later than February 21, 2025.

       IT IS FURTHER ORDERED that by February 25, 2025, Plaintiff shall file a letter

informing the Court and Defendants whether Plaintiff intends to file an amended complaint. This

will be Plaintiff’s last opportunity to amend in response to any issue raised in the parties’

pre-motion letters.

       IT IS FURTHER ORDERED that, if Plaintiff elects to amend, she shall file the amended

complaint by March 4, 2025. Defendants shall respond to the amended complaint within 14 days

of its filing. If Defendants respond with motions to dismiss, further briefing shall be submitted on

the schedule set forth in Local Civil Rule 6.1(b).

        IT IS FURTHER ORDERED that, if Plaintiff elects not to amend, Defendants shall file

their contemplated motions by March 4, 2025. Further briefing shall be submitted on the schedule

set forth in Local Civil Rule 6.1(b).

       Any request for an extension must be filed on ECF at least 48 hours before the deadline.

       The parties are on notice that failure to comply with the Court’s orders, the Federal

Rules of Civil Procedure, the Local Rules, or this Court’s Individual Rules of Practice may

result in sanctions, including: monetary sanctions on counsel and/or the parties; dismissal or

preclusion of claims, defenses, arguments, or evidence; and the case-terminating sanctions

of dismissal/default judgment.

       The Clerk of Court respectfully is requested to terminate the letter motions pending at

docket entries 35 and 45.

SO ORDERED.
                                                     _________________________________
Date: February 18, 2025                                    MARY KAY VYSKOCIL
      New York, NY                                         United States District Judge

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